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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION



JESSE BOONE, as next of kin and         *
administrator of the Estate
of CHRISTINE BOONE, deceased            *

        Plaintiff                       *
                                            Case Number 1:07-CV-213 (WLS)
vs.                                     *

MEDECON MEDICAL SERVICES, INC.
and DONNA BARFIELD,                     *

        Defendants                      *


                               J U D G M E N T


        Pursuant to this Court’s Order dated September 19, 2008, and for

the reasons stated therein, JUDGMENT is hereby entered dismissing

case.     Plaintiff shall recover nothing from Defendants.

        This 22nd day of September, 2008.

                                    Gregory J. Leonard, Clerk

                                    S/ Joan B. King
                                    Deputy Clerk
